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                        UNITED STATES DISTRICT COURT                   ffiHffiHIVHM
                           DISTRICT OF MINNESOTA
                                                                                l'{AY 0   6 2rl2l
                                     UNDER SEAL                       CLERK, U.S. DIS rRiCT COURI
                                                                       MINNEAPOLIS, MINNESOTA

UNITED STATES OF AMERICA

       V.                                           Crim.   No. 21-CR-108 (PAIWTNL)

DEREK MICHAEL CHAUVIN ET AL


LNITED STATES OF AMERICA


       V.                                           Crim. No. 21-CR-109 (WMWI{B)

DEREK MICHAEL CHAUVIN


             NOTICE TO THE COURT OF POSSIBLE RELATED CASES

       The undersigned attorneys hereby notiff the Court and counsel that the above-

captioned cases are related for the following reason:

r     The cases involve the same defendant.


Dated: May 6,2021                                Respectfully submitted,


W. ANDERS FOLK                                   PAMELA      S.   KARLAN
Acting United States Attorney                    Principal Deputy Assistant
                                                 Attorney General



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BY: W. ANDERS FOLK                               BY:   Samantha Trepel
Acting United States Attorney                    Special Litigation Counsel
Attorney ID No. 031 1388                         Attorney ID No. 992377 DC


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